                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                           DOCKET NO. 3:13-cr-00293-MOC-DCK

UNITED STATES OF AMERICA,                         )
                                                  )
                                                  )
                                                  )
Vs.                                               )                     ORDER
                                                  )
JASON HILL,                                       )
                                                  )
                  Defendant.                      )



        THIS MATTER is before the court on defendant’s pro se letter (#91), which appears to

seek dismissal of this action based on the findings of other judges in other districts finding

entrapment based on “stash house” sting operations. This is the second time defendant has sent

the court this letter, dated June 14, 2014. The court issued an order in response to this letter on

August 11, 2014 (#73) and reiterates the same instructions here. The Local Criminal Rules,

however, prohibit a represented defendant from bringing such pro se motion on his or her own.

Finally, the court has addressed defendant’s counseled motion after an evidentiary hearing.

                                             ORDER

        IT IS, THEREFORE, ORDERED that to the extent defendant seeks relief in his pro se

letter (#91), such relief is denied without prejudice. Defendant is advised NOT to send letters to

the court as such may contain or be construed to contain admissions against his legal interests,

frustrating his constitutional right to remain silent.




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